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				MANGUM OIL &amp; GAS v. MAYABB2014 OK CIV APP 15320 P.3d 528Case Number: 110640Decided: 11/19/2013Mandate Issued: 02/20/2014DIVISION IVTHE COURT OF CIVIL APPEALS OF THE STATE OF OKLAHOMA, DIVISION IVCite as: 2014 OK CIV APP 15, 320 P.3d 528

MANGUM OIL &amp; GAS, Plaintiff/Appellee,v.TRAVIS SCOTT 
MAYABB, Defendant/Appellant.

APPEAL FROM THE DISTRICT COURT OFGREER COUNTY, OKLAHOMA
HONORABLE DANNY R. DEAVER, TRIAL JUDGE

VACATED

Tabitha L. Mills, LATHAM, NELSON &amp; ASSOCIATES, PLLC, Mangum, Oklahoma, 
for Plaintiff/AppelleeMaryGaye LeBoeuf, Oklahoma City, Oklahoma and Rick K. 
Vernon, MCMAHAN &amp; VERNON, P.C., Altus, Oklahoma, for 
Defendant/Appellant


P. THOMAS THORNBRUGH, PRESIDING JUDGE:
BACKGROUND
¶1 On November 20, 2009, plaintiff Mangum Oil &amp; Gas (Mangum) filed a 
"Petition" against defendant Travis Scott Mayabb seeking to recover a debt of 
$3,043. The petition was filed on the small claims docket, but was not compliant 
with the small claims format or procedure. Mangum filed no small claims 
affidavit, and gave Mayabb notice in the form stated by 12 O.S.2011 § 2004, rather than 
according to the small claims procedure stated by 12 O.S.2011 § 1753. Mayabb did not 
respond, and no small claims appearance date was set. Mangum states that filing 
on the small claims docket was the result of a "scrivener's error." More than 
two years later, Mangum moved for a "default judgment" from the small claims 
court, which the court granted on January 17, 2012. Mayabb moved to vacate this 
default, arguing that Mangum had never obtained jurisdiction in the small claims 
court because the required procedures of 12 O.S.2011 § 1753 were not 
followed. The district court found that the small claims procedure stated by § 
1753 is "not the only way to initiate and start a case in these small claims 
proceedings" and refused to vacate the default judgment. Mayabb now appeals this 
decision. For the reasons set forth below, we vacate the default judgment
STANDARD OF REVIEW
¶2 The trial court's disposition of a motion to vacate is reviewed for an 
abuse of discretion. Patel v. OMH Med. Ctr., Inc., 1999 OK 33, 987 P.2d 1185. "An abused judicial 
discretion is manifested when discretion is exercised to an end or purpose not 
justified by, and clearly against, reason and evidence." Id. at ¶ 20, 987 
P.2d at 1194. The question of the district court's interpretation of the small 
claims statute, and its jurisdiction to enter judgment are questions of law. The 
standard of review for questions of law concerning the jurisdictional power of 
the trial court to act is de novo. Dilliner v. Seneca-Cayuga Tribe of 
Okla., 2011 OK 61, ¶ 12, 258 P.3d 516, 519. De novo 
review involves a plenary, independent, and non-deferential examination of the 
trial court's rulings of law. In re Estate of Bell-Levine, 2012 OK 112, ¶ 5, 293 P.3d 964, 966.
ANALYSIS
¶3 The question in this appeal is whether the small claims court obtained 
jurisdiction over Mayabb, and could therefore grant default judgment against 
him. As such, it presents a single initial question of law - if a plaintiff 
files suit on the small claims docket, must the plaintiff file a small claims 
affidavit and provide defendant notice in the form required by 12 O.S.2011 § 1753, or may the 
Plaintiff file a "petition" and give notice in the form required by 12 O.S.2011 § 2004?
¶4 Title 12 O.S.2011 §1753 
requires that:

  
    Actions under the small claims procedure as described in paragraphs 1 and 
    2 of subsection A of Section 1751 of this title shall be initiated by 
    plaintiff or plaintiff's attorney filing an affidavit in substantially the 
    following form with the clerk of the court:
The statue goes on to list a form of affidavit. This affidavit includes an 
order in the following form, which is signed by the small claims judge, and 
served on the defendant:
ORDER

  
    The people of the State of Oklahoma, to the within-named defendant:
    You are hereby directed to appear and answer the foregoing claim and to 
    have with you all books, papers, and witnesses needed by you to establish 
    your defense to the claim.
    This matter shall be heard at ____________________ (name or address of 
    building), in _______________, County of _______________, State of Oklahoma, 
    at the hour of _____ o'clock of the _____ day of __________, 20__. And you 
    are further notified that in case you do not so appear judgment will be 
    given against you as follows:
    For the amount of the claim as it is stated in the affidavit, or for 
    possession of the personal property described in the affidavit.
    And, in addition, for costs of the action (including attorney fees where 
    provided by law), including costs of service of the order.
    Dated this _____ day of __________, 20__.
¶5 It is undisputed that no part of this procedure was followed. No affidavit 
was filed, and no signed order stating an appearance date was sent. Instead, 
Mangum served a summons pursuant to 12 O.S.2011 § 2004(B), requiring 
Mayabb to "answer" within 20 days. No "answer" is required in the small claims 
process. Mangum argues that this process was sufficient to invoke the 
jurisdiction of the small claims court because the requirements of § 2004 are 
"more stringent" than those of §§ 1753-1755. We disagree that process in this 
case was "sufficient."
¶6 Title 12 O.S.2011 § 1755 
does allow the service of a small claims action to be made pursuant to 
"the provisions of subsection C of Section 2004 of this title" at the election 
of the plaintiff. However, § 2004(C) deals with the physical details of service, 
not the required contents of the notice. We find it clear that the notice 
requirements of § 1753 were not followed.
¶7 The district court found, as a matter of law, that the procedure stated by 
§ 1753 is "not the only way to initiate and start a case in these small claims 
proceedings." However, we find no support in the small claims statutes, or case 
law, for this view. The Legislature was quite clear regarding the unique 
procedure that is to be followed in small claims cases. We find no indication 
that the Legislature granted the trial courts discretion to substitute 
procedures beyond those specified by the statutes.
¶8 Mangum argues that the filing of the case on the small claims docket was 
due to a scrivener's error, evidenced by its failure to file the required 
affidavit and its use of the § 2004 procedure for service.1 However, the error in this 
case is not insignificant. Filing a case on the small claims docket radically 
changes the procedures and rights available to the defendant. As noted by 
Kimble v. Kimble, 2001 OK ¶ 6, 264 P.3d 1229, 1231-1232:

  
    The Act is set forth at 12 
    O.S. Supp. 2004 §§ 1751 et seq. The unmistakable public policy goal of 
    the Act is to provide small claims forums as "people's courts, uncomplicated 
    by the formal demands of superior courts." This is evidenced throughout the 
    Act which provides for informal procedures for actions when claims are less 
    than $6,000.00. For example, the Act's simplified procedure is reflected in 
    the lack of the requirement of formal pleadings other than the basic claim 
    and notice. The only pretrial motion allowed is a motion to transfer the 
    cause to District Court and the Act imposes a penalty on a defendant who 
    successfully transfers the action but does not prevail. The Act specifically 
    prohibits depositions, interrogatories and all other typical discovery 
    procedures unless it is after a judgment to aid in its execution. It also 
    prohibits the addition of new parties or the ability to 
  intervene.
(Footnotes omitted).
¶9 Although the Supreme Court had not traditionally favored strict 
differentiations between dockets on the grounds that these conflict with the 
general jurisdiction of the Oklahoma courts, the small claims procedure is 
unique and fundamentally different compared to that available in the other 
divisions of the courts. The procedure for initiating a small claims action is 
likewise unique, leading to a rapid and certain conclusion. It is not a 
procedure that can be "mixed and matched" with those from other dockets. The 
small claims statute requires the filing of an affidavit in "substantially" the 
statutory form. The filing of a "petition" and service of a summons requiring 
answer within 20 days is by no means "substantially compliant" with the required 
process. The small claims process explicitly requires notice of a 
hearing date as part of the process to initiate a case. Mayabb received no 
such notice.
¶10 We therefore hold that a small claims affidavit and notice "substantially 
compliant" with that required by 12 
O.S.2011 §§ 1751 et seq. is the only correct way to initiate a small 
claims action, and procedures from other divisions of the courts may not be 
substituted.
CONCLUSION
¶11 The procedures required by 12 
O.S.2011 §§ 1751 et seq. were not followed in this case. No small 
claims proceeding was therefore initiated, and the district court had no 
jurisdiction to grant default judgment in the matter. We therefore vacate the 
default judgment.

¶12 VACATED.

RAPP, J., and GOODMAN, J., concur.

FOOTNOTES

1 The 
record indicates that Mangum actually filed another action on the CS docket 
seeking to recover the same debt from Maybabb on November 8, 2011, Case 
CS-2011-0027. Having admitted that it filed on the wrong docket, and having 
corrected that error, Mangum then inexplicably dismissed the CS action and 
attempted to proceed on the small claims docket instead.





	Citationizer© Summary of Documents Citing This DocumentCite
		Name
		Level
	None Found.Citationizer: Table of AuthorityCite
		Name
		Level
	Oklahoma Supreme Court Cases&nbsp;CiteNameLevel&nbsp;2011 OK 61, 258 P.3d 516, DILLINER v. SENECA-CAYUGA TRIBE OF OKLAHOMADiscussed&nbsp;2011 OK 85, 264 P.3d 1229, KIMBLE v. KIMBLECited&nbsp;2012 OK 112, 293 P.3d 964, IN THE MATTER OF THE ESTATE OF BELL-LEVINEDiscussed&nbsp;1999 OK 33, 987 P.2d 1185, 70 OBJ        1353, Patel v. OMH Medical Center, Inc.DiscussedTitle 12. Civil Procedure&nbsp;CiteNameLevel&nbsp;12 O.S. 1751, Suits Authorized Under Small Claims ProcedureDiscussed at Length&nbsp;12 O.S. 1753, Small Claims Affidavit - Form - FilingDiscussed at Length&nbsp;12 O.S. 1755, Service of Affidavit and Order upon DefendantCited&nbsp;12 O.S. 2004, 12 O.S. 2004, ProcessDiscussed at Length


				
					
					
				
             
         
        
            

		